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                            Case No. 20-7077

        IN THE UNITED STATES COURT OF APPEALS
         FOR THE DISTRICT OF COLUMBIA CIRCUIT

                         JOSHUA ATCHLEY, ET AL.,
                                           Plaintiffs-Appellants,
                                    v.
                     ASTRAZENECA UK LIMITED, ET AL.,
                                          Defendants-Appellees.

        ON APPEAL FROM THE UNITED STATES DISTRICT COURT
 FOR THE DISTRICT OF COLUMBIA (17-CV-02136) (HON. RICHARD J. LEON)


                 NOTICE OF WITHDRAWAL OF
                ATTORNEY BETH S. BRINKMANN


S. Conrad Scott                            Beth S. Brinkmann
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September 18, 2023                         Counsel for Defendant-Appellee
                                           F. Hoffmann-La Roche Ltd
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     Counsel Beth S. Brinkmann of Covington & Burling LLP hereby

requests that her appearance on behalf of Defendant-Appellee F.

Hoffmann-La Roche Ltd be withdrawn. F. Hoffmann-La Roche Ltd will

continue to be represented by other counsel who previously entered their

appearance in this matter, including David M. Zionts of Covington &

Burling LLP.     Accordingly, Beth S. Brinkmann requests that her

appearance be withdrawn and that she be removed from the Court

docket, service list, and ECF notifications for this matter.

September 18, 2023                    Respectfully submitted,

                                      /s/ Beth S. Brinkmann
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                                      Counsel for Defendant-Appellee
                                      F. Hoffmann-La Roche Ltd
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                     CERTIFICATE OF SERVICE

     I, Beth S. Brinkmann, counsel for Defendant-Appellee F.

Hoffmann-La Roche Ltd, hereby certify that on September 18, 2023, I

caused the foregoing Notice to be filed with the Clerk of Court for the

United States Court of Appeals for the District of Columbia Circuit by

using the appellate CM/ECF system.             I further certify that all

participants in the case are registered CM/ECF users and that service

will be accomplished by the CM/ECF system.

     September 18, 2023                   /s/ Beth S. Brinkmann
                                          Beth S. Brinkmann
